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               UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF MARYLAND
                                  *
UNITED STATES OF AMERICA          *
                                  *
          v.                      *   CRIMINAL NO. MJG-17-069
                                  *
HAROLD T. MARTIN, III             *
                                  *
     Defendant                    *
                              ***********



 UNITED STATES’ RESPONSE TO PRO SE MOTION FOR RETURN OF PROPERTY


       The United States of America, by and through its undersigned counsel, hereby responds

to the defendant’s pro se motion for return of certain personal property, some of which he

incorrectly asserts, as he has on prior occasions through his counsel, is in the possession of the

government.

       Upon receipt of the defendants’ motion, government counsel, in spite of the fact that this

had been done at least three times before, undertook to verify that the jewelry the defendant

continues to claim was seized from him incident to his arrest on August 27, 2016 was not, in

fact, seized and is, therefore, not in the government’s possession. Once again the results of that

endeavor disclosed that the defendant is mistaken. No agent or officer of the government seized

jewelry from the defendant. In contacting the arresting investigators once again, government

counsel was told that not only did they not seize any jewelry from the defendant, they

specifically recall telling the defendant to take off his necklace and ring, to remove his belt and

to put shoes on without laces. Further, the investigators relayed that they told the defendant to

place the jewelry on top of a television cabinet prior to his being transported to the Woodlawn
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Precinct of the Baltimore County Police Department where he was incarcerated prior to being

presented to a United States Magistrate Judge for his initial appearance.

       Woodlawn Precinct personnel were contacted and advised that a review of their records

indicated that when the defendant arrived he had no money or other personal possessions, only

blood pressure medication and leather sandals in addition to other clothing on his person.

       In order to thoroughly investigate the defendant’s claim, the United States Marshals

Service at the U. S. Courthouse in Baltimore were contacted since they took custody of the

defendant after his initial appearance.    They advised that they do not accept any personal

property of a defendant and thus do not have the jewelry in question.

       Again, for the sake of being as thorough as possible, the Harford County Detention

Center, where the defendant has been in custody pending trial since his initial appearance and

detention, was contacted. They advised that they have no jewelry of the defendant in their

possession.

       Regarding the defendant’s request for the return of the firearms seized from his residence

and vehicle on August 27, as was communicated to his counsel many months ago, and reiterated

in the government’s December 15, 2017 letter to the Court, the government agreed to return the

firearms to the defendant’s brother, the designee selected by the defendant, once it was

determined that he was not a “prohibited person” under the relevant federal statute.           That

determination was made and communicated to defense counsel, again many months ago, with

the request that the defendant’s brother contact the FBI case agent to arrange for the return of the

firearms. To date, the FBI case agent has not been contacted.

       The FBI has in its possession a Dell Precision Laptop (Model: M6800), a Dell Laptop

(Model: Latitude E6400) and a Dell Inspiron Mini 10. As has been previously disclosed to



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defense counsel, this hardware, minus any hard discs/flash drives, random access memory chips

or any other component with memory capability (which have evidence contained within them),

are able to be returned after conclusion of the pending litigation. At the present time, it is

believed that the hardware may be needed to properly access information contained in associated

memory devices should it be determined that such information would be needed for trial,

sentencing or other associated proceedings.



                                              Respectfully submitted,
                                              Stephen M. Schenning
                                              Acting United States Attorney

                                     By:      __________/s/_______________
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                                              Assistant United States Attorney
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                                              __________/s/_________________
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of this Response was delivered via first class mail to

Harold T. Martin #134683,, c/o Harford County Detention Center, P.O. Box 1245, BelAir, MD

21014 this 22 day of February, 2018.



                                         ____________/s/_________________
                                         Harvey E. Eisenberg




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